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                  EXHIBIT B
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               CERTIFICATION PURSUANT TO THE FEDERAL SECURITIF.S LAWS

        I, Trey Greene ("Movantj declares lJDdcr penalty of perjury, as to the claims asserb:d

 under the federal securities laws, that

         L       I b w e ~ the Class Ad.ion Complaint in Flaa V. Zoe Prince, et al., 23-cl--

 10422 (U.S.D.C. D. Mass.) and authorize die filing ofa motion to be appointed~ plaintiff and

 for his counsel to be appointed lead counsel for me as lead plaintiff in that action.

        2.       I did oot purchase the securities that are die subject ofthis action at the direction

 of plaintifPs counsel or in order to participate -in this private action or any action arising under

 the federal securities laws.

        3.       I am willing1o serve as a represent.alive party on behalf ofthe class descnbed in

 Elas, including providing testimony at deposition and triaL if necessary, and I am willing to

 serve as a lead plaintiff either individually or cooperate as part of a group of lead plaintiffs, .a

 lead plaintiff being a representative party who acts on behalf of other class members in diteding

 the action.

        4.       I-was,at allrelevanttime an investor in -BlookFi accounts.

         S.      In total, I invested $1.586,492.00 in ffiockF:i via transfer of funds and re-invested

 over approximately $200,000.00 in earned credited interest on my BlockFi accounts and re-

 invested approximately $200,000.00 of capital gains onmy BlockFi.as.sets_ back into BlockFi

 without ever effecting any withdrawals out of Block.Fi. In addition, my ~ ,;es include accrued

 but un-credited interest at the rate of 9% per annum on the total of the balances in my accounts

 with the total amount subject to discovery. My assets areJrozen and unavailable and their worth

 is indeterminate and was being valued at zero for the pmposes of estimating my losses here.




                                                    1
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        6.      During the three-year period preceding the date on which this Certification is

 s ~ I have songht to serve as a representative party on behalf of a class under the federal

 securities laws in Greene v. Prince, et al., 23-cv-01165 (U.S.D.C. D.N.J.).

        7.      I agree not to accept any payment for serving as a representative party on behalf

 of class as set forth in the Etas Complain~ beyond my pro rata share of any recovery, except

 such reasonable costs and expense directly relating to the representation of the class as ordered

 or any amount approved by the Court.

         8.     I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.
              4/26/2023

 Executed this _ day of Ap~ 2023
                                               Trey Greene




                                                  2
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         CERTIFICATION PURSUANT TO THE FEDERAL SECURITIES LAWS


I, Arman Reyes (“Movant”) declares under penalty of perjury, as to the claims asserted under

the federal securities laws, that:

    1. I have reviewed the Class Action Complaints in Trey Greene, Individually and on Behalf

         of All Others Similarly Situated v. Zac Prince, et al., Case No. 2:23-cv-01165 and Elas v.

         Zac Prince, et al., 23-cv- 10422 (U.S.D.C. D. Mass.) and authorize the filing of a motion

         to be appointed lead plaintiff and for my counsel to be appointed lead counsel for me as

         lead plaintiff in that action.

    2. I did not purchase the securities that are the subject of this action at the direction of

         plaintiffs’ counsel or in order to participate in this private action or any action arising

         under the federal securities laws.

    3. I am willing to serve as a representative party on behalf of the class described in Greene

         and Elas, including providing testimony at deposition and trial, if necessary, and I am

         willing to serve as a lead plaintiff either individually or cooperate as part of a group of

         lead plaintiffs, a lead plaintiff being a representative party who acts on behalf of other

         class members in directing the action.

    4. I was at all relevant time an investor in BlockFi accounts.

    5.   In total, I invested $ 460,000       in BlockFi via transfer of funds and sustained

         approximately $         492,000           in losses. In addition, my losses include accrued

         but un-credited interest at the rate of 9% per annum on the total of the balances in my

         accounts with the total amount subject to discovery. Attached as Exhibit A is a

         spreadsheet of my BlockFi transaction history.
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   6. My assets are frozen and unavailable and their worth is indeterminate and was being

       valued at zero for the purposes of estimating my losses here.

   7. During the three-year period preceding the date on which this Certification is signed, I

       have not sought to serve as a representative party on behalf of any class.

   8. I agree not to accept any payment for serving as a representative party on behalf of class

       as set forth in the Greene and Elas Complaints, beyond my pro rata share of any

       recovery, except such reasonable costs and expense directly relating to the representation

       of the class as ordered or any amount approved by the Court.

   9. I declare under penalty of perjury under the laws of the United States of America that the

       foregoing is true and correct.


Executed this _ day of April, 2023                          /s/ Arman Reyes
                                                            Arman Reyes
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Cryptocurrency        BTC Amount ETH Amount GUSD Amount Transaction Type               Confirmed At        Price       Deposits/Withdrawals Interest/Re-Investment*
BTC                    0.02183795                                  Interest Payment    10/31/2022 23:59 $20,495.77                                            $447.59
GUSD                                                        733.86 Bonus Payment       10/20/2022 23:43
BTC                      0.0196564                                 Interest Payment     9/30/2022 23:59 $19,431.79                                            $381.96
BTC                    0.02174308                                  Interest Payment     8/31/2022 23:59 $20,049.76                                            $435.94
BTC                      0.0208404                                 Interest Payment     7/31/2022 23:59 $23,336.90                                            $486.35
BTC                    0.00233191                                  Interest Payment     6/30/2022 23:59 $19,784.73                                             $46.14
BTC                    0.00264221                                  Interest Payment     5/31/2022 23:59 $31,792.31                                             $84.00
BTC                    0.00300234                                  Interest Payment     4/30/2022 23:59 $37,714.88                                            $113.23
BTC                    0.00320735                                  Interest Payment     3/31/2022 23:59 $45,538.68                                            $146.06
BTC                      0.0028284                                 Interest Payment     2/28/2022 23:59 $43,193.23                                            $122.17
BTC                    0.00309837                                  Interest Payment     1/31/2022 23:59 $38,483.13                                            $119.23
ETH                                     4.7703669                  Crypto Transfer       1/4/2022 16:51 $3,857.68                 $18,402.55
BTC                    0.00715479                                  Interest Payment    12/31/2021 23:59 $46,306.45                                            $331.31
ETH                                          -0.015                Withdrawal Fee      12/30/2021 17:27
ETH                                          -4.735                Withdrawal          12/30/2021 17:27 $3,710.08                ($17,567.23)
BTC                      0.0067909                                 Interest Payment    11/30/2021 23:59 $57,005.43                                            $387.12
BTC                    0.00646581                                  Interest Payment    10/31/2021 23:59 $61,318.96                                            $396.48
BTC                    0.00617022                                  Interest Payment     9/30/2021 23:59 $43,790.89                                            $270.20
ETH                                    0.39607246                  Crypto Transfer       9/14/2021 2:37 $3,436.05                   $1,360.92
ETH                                             -0.4               Withdrawal           9/13/2021 19:55 $3,285.40                  ($1,314.16)
ETH                                           -0.02                Withdrawal Fee       9/13/2021 19:55
ETH                                           -0.75                Withdrawal           9/13/2021 19:55 $3,285.40                  ($2,464.05)
BTC                    0.01211652                                  Interest Payment     8/31/2021 23:59 $47,166.69                                            $571.50
BTC                    0.01129536                                  Interest Payment     7/31/2021 23:59 $41,626.20                                            $470.18
BTC                    0.02110037                                  Interest Payment     6/30/2021 23:59 $35,040.84                                            $739.37
BTC                    0.02311338                                  Interest Payment     5/31/2021 23:59 $37,332.86                                            $862.89
BTC                    0.03294938                                  Interest Payment     4/30/2021 23:59 $57,750.18                                          $1,902.83
BTC                    0.02182923                                  Interest Payment     3/31/2021 23:59 $58,918.83                                          $1,286.15
ETH                                   50.04649362                  Crypto Transfer      3/10/2021 21:52 $1,803.88                 $90,277.87
ETH                                              50                Crypto Transfer      3/10/2021 21:37 $1,806.66                 $90,333.00
BTC                    2.00180387                                  Crypto Transfer      3/10/2021 21:21 $55,884.60               $111,870.01
BTC                                2                               Crypto Transfer      3/10/2021 20:48 $56,284.48               $112,568.96
BTC                                1                               Crypto Transfer      3/10/2021 20:38 $56,502.02                $56,502.02
BTC                        5.00E-08                                Interest Payment     2/28/2021 23:59 $45,137.77                                              $0.00
BTC                    0.00010024                                  Crypto Transfer      2/23/2021 17:16 $47,553.62                      $4.77
Total Crypto Assets    5.25207853 99.29293298               733.86                              Total Initial Deposits           $459,974.66                $9,600.71
*All interest awarded set up to re-invest into BTC automatically


NOTE: All crypto assets were purchased prior to opening a BlockFi BIA account. All assets were transferred into a BIA account per the transaction dates above.


Annual Interest:          9%
Total value           $470,309.23

       6 months (Nov-Apr)
            Nov-22 $473,836.55
            Dec-22 $477,390.32
            Jan-23 $480,970.75
            Feb-23 $484,578.03
            Mar-23 $488,212.37
            Apr-23 $491,873.96
